     Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 1 of 15
                                                                                                            Filed
                                                                                             8/23/2017 3:55 PM
                                                                                          Annie Rebecca Elliott
                                                                                                   District Clerk
                                                                                       Fort Bend County, Texas
                                                                                          Shelby Taylor
                        CAUSE NO. 17 -DCV-244507

LILLIAN ROMAN,                                §                  IN THE DISTRICT COURT
     Plaintiff,

V.
                                        FORT BEND COUNTY, TEXAS
UNITED PROPERTY & CASUALTY §
INSURANCE COMPANY,         § Fort Bend County - 434th Judicial District Court
    Defendant,             §                          DISTRICT COURT


                 PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
                        AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Lillian Roman, Plaintiff herein, and files Plaintiff's Original Petition,

Jury Demand, and Request for Disclosure, complaining of United Property & Casualty

Insurance Company ("UPC Insurance" or "Defendant") and for cause of action, Plaintiff

respectfully shows the following:

                              DISCOVERY CONTROL PLAN

1.     Plaintiff intends to conduct discovery under Level 3, Texas Rules of Civil Procedure

       190.4 and 169.

                                           PARTIES

2.     Plaintiff, Lillian Roman, resides in Fort Bend County, Texas.

3.     Defendant, United Property & Casualty Insurance Company, is a Texas insurance

       company engaged in the business of insurance in the State of Texas. Plaintiff requests

       service of citation upon United Property & Casualty Insurance Company through its

       registered agent for service: CT ,Corporation System, 1999 Bryan Street, Suite 900,

       Dallas, Texas 75201-3136. Plaintiff requests service at this time.

4.
      Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 2 of 15




                                           JURISDICTION

5.       The Court has jurisdiction over UPC Insurance because this Defendant engages in the

         business of insurance in the State of Texas, and the causes of action arise out of UPC

         Insurance's business activities in the state, including those in Fort Bend County, Texas,

         with reference to this specific case.

                                                 VENUE

6.       Venue is proper in Fort Bend County, Texas because the insured property is located in

         Fort Bend County, Texas, and all or a substantial part of the events giving rise to this

         lawsuit occurred in Fort Bend County, Texas. TEX. CIV. PRAC. & REM. CODE §

         15.032.

                                                 FACTS

7.       Plaintiff asserts claims for fraud, breach of contract, violations of sections 541 and 542 of

        the Texas Insurance Code, and violations of the Texas DTPA.

8.       Plaintiff owns a United Property & Casualty Insurance Company homeowner's insurance

        policy, number UTD752639200 ("the Policy"). At all relevant times, Plaintiff owned the

        insured premises located at 9022 Morningstar Drive, Sugar Land, Texas 77479 ("the

        Property").

9.      UPC Insurance or its agent sold the Policy, insuring the Property, to Plaintiff. UPC

        Insurance or its agent represented to Plaintiff that the Policy included wind and hailstorm

        coverage for damage to Plaintiff's home. UPC Insurance has refused the full extent of

        that coverage currently owed to Plaintiff.

10.     On or about February 14, 2017, the Property sustained extensive damage resulting from a

        severe storm that passed through the Fort Bend County, Texas area.

                                                  2
      Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 3 of 15




11.     In the aftermath of the wind and hailstorm, Plaintiff submitted a claim to UPC Insurance

        against the Policy for damage to the Property. UPC Insurance assigned claim number

        2017TX020939 to Plaintiff's claim.

12.     Plaintiff asked UPC Insurance to cover the cost of damage to the Property pursuant to the

        Policy.

13.     UPC Insurance hired or assigned its agent adjuster to inspect and adjust the claim. The

        agent conducted an inspection on or about March 31, 2017. The agent's findings

        generated an estimate of damages totaling $504.06. After application of depreciation and

        deductible of $1,700.00 Plaintiff was left with without any recovery to make necessary

        repairs on her home.

14.     UPC Insurance, through its agent, conducted a substandard and improper inspection of

        the Property, which grossly undervalued the cost of repairs in its estimate and yielded an

        unrealistic amount to underpay coverage.

15.     UPC Insurance has ultimately refused full coverage which includes, but is not limited to,

        replacement of the roof and exterior damage damage not reported in UPC's estimate.

        Specifically, UPC's adjuster, Jessica Hernandez, allotted payment for "minimum roof

        charges." The third party adjuster hired to review the damage found hail and wind

        damage from the date of loss to the entire 29.6 squares of Plaintiff's roof. In addition, the

        third party adjuster found damage to the pipe jack, turtle vent, drip edge, step flashing,

        valley flashing, chimney flashing, roof vent, gutters, down spouts and wood fencing on

        the exterior of Plaintiff's Property.

16.     The damage to Plaintiff's Property is currently estimated at $19,562.14.

                                                 3
  Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 4 of 15




17.   As stated above, UPC Insurance improperly and unreasonably adjusted Plaintiff's claim.

      Without limitation, UPC Insurance misrepresented the cause of, scope of, and cost to

      repair damages to Plaintiff's Property, as well as the amount of insurance coverage for

      Plaintiff's claim or loss under the Policy.

18.   Since due demand was made on May 2, 2017, UPC Insurance has not communicated that

      any future settlements or payments would be forthcoming to pay for the entire loss

      covered under the Policy, nor did it provide any explanation for failing to settle Plaintiff's

      claim properly.

19.   As a result of UPC Insurance's failure to provide full coverage, along with UPC

      Insurance's delay tactics to avoid reasonable payment to Plaintiff; Plaintiff has suffered

      damages.

20.   UPC Insurance failed to perform its contractual duties to Plaintiff under the terms of the

      Policy. Specifically, UPC Insurance refused to pay the full proceeds of the Policy,

      although due demand was made for an amount sufficient to cover repairs to the damaged

      Property, and all conditions precedent to recover upon the Policy were accomplished by

      Plaintiff.

21.   Defendant's misrepresentations, unreasonable delays, and continued denials. constitute a

      breach of the statutory obligations under Chapters 541 and 542 of the Texas Insurance

      Code. Thus, the breach of the statutory duties constitutes the foundation of a breach of

      the insurance contract between UPC Insurance and Plaintiff.




                                                4
      Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 5 of 15




22.     Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. [LX. INS. CODE §541.060(a)(1). Defendant has not attempted to

        settle Plaintiff's claim in a fair manner, even though Defendant was aware of its liability

        to Plaintiff under the Policy. Specifically, Defendant has failed to timely pay Plaintiff's

        coverage due under the Policy.

23.     Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. [EX. INS. CODE §541.060(a)(2)(A). Defendant failed to provide

        Plaintiff a reasonable explanation for not making the full payment under the terms of the

        Policy.

24.     Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a)(4). Defendant refused to provide

        full coverage due to Plaintiff under the terms of the Policy. Specifically, UPC Insurance,

        through its agents, servants, and representatives, performed an outcome-oriented

        investigation of Plaintiff's claim, which resulted in a biased, unfair, and inequitable

        evaluation of Plaintiff's losses on the Property.

25.     Defendant's conduct constitutes a violation of the Texas Insurance Code, Prompt

        Payment of Claims. TEX. INS. CODE §542.055. Defendant failed to reasonably accept

        or deny Plaintiff's full claim within the statutorily mandated time after receiving all

        necessary information.

26.     Defendant's conduct constitutes a violation of the Texas Insurance Code, Prompt

        Payment of Claims. TEX. INS. CODE §542.056. Defendant failed to meet its

                                                  5
      Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 6 of 15




         obligations under the Texas Insurance Code regarding timely payment of the claim.

         Specifically, Defendant has delayed payment of Plaintiff's claim longer than allowed,

         and Plaintiff has not received full payment for her claim.

27.      Defendant's wrongful acts and omissions forced Plaintiff to retain the professional

         services of the attorneys and law firm representing her with respect to these causes of

         action.


 CAUSES OF ACTION AGAINST DEFENDANT UNITED PROPERTY & CASUALTY
                       INSURANCE COMPANY

                                    BREACH OF CONTRACT

28.      UPC Insurance is liable to Plaintiff for intentional violations of the Texas Insurance

         Code, and intentional breach of the common law duty of good faith and fair dealing. It

        follows, then, that the breach of the statutory duties constitutes the foundation of an

         intentional breach of the insurance contract between UPC Insurance and Plaintiff.

29.     UPC Insurance's failure and/or refusal to pay adequate coverage as obligated under the

        teu is of the Policy, and under the laws of the State of Texas, constitutes a breach of the

         insurance contract with Plaintiff.

               NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                      UNFAIR SETTLEMENT PRACTICES

30.     UPC Insurance's conduct constitutes multiple violations of the Texas Insurance Code,

        Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this

        article are actionable by TEX. INS. CODE §541.151.




                                                  6
      Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 7 of 15




31.     UPC Insurance's unfair settlement practice of misrepresenting to Plaintiff material facts

        relating to coverage constitutes an unfair method of competition and a deceptive act or

        practice in the business of insurance. 11,X. INS. CODE §541.060(a)(1).




32.     UPC Insurance's unfair settlement practice of failing to attempt in good faith to make a

        prompt, fair, and equitable settlement of the claim, even though liability under the Policy

        was reasonably clear, constitutes an unfair method of competition and a deceptive act or

        practice in the business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

33.     UPC Insurance's unfair settlement practice of failing to provide Plaintiff a prompt and

        reasonable explanation of the basis in the Policy, in relation to the facts or applicable law,

        for partial denial of the claim, constitutes an unfair method of competition and a

        deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

34.     UPC Insurance's unfair settlement practice of failing within a reasonable time to affuin

        or deny coverage of the claim to Plaintiff constitutes an unfair method of competition and

        a deceptive act or practice in the business of insurance. TEX. INS. CODE

        §541.060(a)(4).

35,     UPC Insurance's unfair settlement practice of refusing to pay Plaintiff's claim without

        conducting a reasonable investigation constitutes an unfair method of competition and a

        deceptive act or practice in the business of insurance. TEX. INS. CODE §541,060(a)(7).

              NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                    THE PROMPT PAYMENT OF CLAIMS




                                                  7
      Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 8 of 15




36.      UPC Insurance's conduct constitutes multiple violations of the Texas Insurance Code,

         Prompt Payment of Claims. All violations made under this article are actionable by TEX.

         INS. CODE §542.060.

37.      UPC Insurance's failure to notify Plaintiff in writing of its acceptance or rejection of the

         full claim within the applicable time constraints constitutes a non-prompt payment in

         violation of TEX. INS. CODE §542.056.

38.      UPC Insurance's delay in paying Plaintiff's claim following receipt of all items,

         statements, and forms reasonably requested and required, for longer than the amount of

         time provided, constitutes a non-prompt payment of the claim. TEX. INS. CODE

         §542.058.

            BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

39.     UPC Insurance's conduct constitutes a breach of the common law duty of good faith and

        fair dealing owed to an insured in insurance contracts.

40.     UPC Insurance's failure to adequately and reasonably investigate and evaluate Plaintiff's

        claim, although, at that time, UPC Insurance knew or should have known by the exercise

        of reasonable diligence that liability was reasonably clear, constitutes a breach of the duty

        of good faith and fair dealing.

                                      DTPA VIOLATIONS

41.     UPC Insurance's conduct constitutes multiple violations of the Texas Deceptive Trade

        Practices Act ("DTPA"), 1EX. BUS. & COM. CODE 17.41-63. Plaintiff is a consumer

        of goods and services provided by UPC Insurance pursuant to the DTPA. Plaintiff has

        met all conditions precedent to bringing this cause of action against UPC Insurance.



                                                  8
Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 9 of 15




  Specifically, UPC Insurance's violations of the D1PA include, without limitation, the

  following matters:

  A.     By its acts, omissions, failures, and conduct, UPC Insurance has violated sections

         17.46(b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA. UPC Insurance's

         violations include without limitation, (1) unreasonable delays in the investigation,

         adjustment, and resolution of Plaintiff's claim, (2) failure to give Plaintiff the

         benefit of the doubt, and (3) failure to pay for the proper repair of Plaintiff's

         property when liability has become reasonably clear, which gives Plaintiff the

         right to recover under section 17.46(b)(2).

  B.     UPC Insurance represented to Plaintiff that the Policy and UPC Insurance's

         adjusting and investigative services had characteristics or benefits that they did

         not possess, which gives Plaintiff the right to recover under section 17.46(b)(5) of

         the DTPA.

  C.     UPC Insurance also represented to Plaintiff that the Policy and UPC Insurance's

         adjusting services were of a particular standard, quality, or grade when they were

         of another, in violation of section 17.46(b)(7) of the DTPA.

  D.     Furthermore, UPC Insurance advertised the Policy and adjusting services with the

        intent not to sell them as advertised, in violation of section 17.46(b)(9) of the

        D IPA.

  E.    UPC Insurance breached an express warranty that the damages caused by wind

        and hail would be covered under the Policy. This breach entitles Plaintiff to

        recover under sections 17.46(b)(12) and (20) and 17.50(a)(2) of the DTPA.



                                          9
  Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 10 of 15




      F.     UPC Insurance's actions are unconscionable in that UPC Insurance took

             advantage of Plaintiff's lack of knowledge, ability, and experience to a grossly

             unfair degree. UPC Insurance's unconscionable conduct gives Plaintiff a right to

             relief under section 17.50(a)(3) of the D [PA; and

      G.     UPC Insurance's conduct, acts, omissions, and failures, as described in this

             petition, are unfair practices in the business of insurance in violation of section

             17.50(a)(4) of the DTPA.

42.   Each of the above-described acts, omissions, and failures of UPC Insurance is a

      producing cause of Plaintiff's damages. All of the above-described acts, omissions, and

      failures were committed "knowingly" and "intentionally," as defined by the Texas

      Deceptive Trade Practices Act

                                          FRAUD

43,   UPC Insurance is liable to Plaintiff for common law fraud.

44.   Each and every misrepresentation described above concerned material facts that absent

      such representations, Plaintiff would not have acted as she did, and UPC Insurance knew

      its representations were false or made recklessly without any knowledge of their truth as

      a positive assertion.

45.   UPC Insurance made the statements intending that Plaintiff act upon them. Plaintiff then

      acted in reliance upon the statements, thereby causing Plaintiff to suffer injury

      constituting common law fraud.

                                       KNOWLEDGE




                                             10
      Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 11 of 15




46.      Defendant made each of the acts described above, together and singularly, "knowingly,"

         as defined in the Texas Insurance Code, and each was a producing cause of Plaintiff's

         damages described herein.

                                    WAIVER AND ESTOPPEL

47.      Defendant waived and is estopped from asserting any coverage defenses, conditions,

         exclusions, or exceptions to coverage not contained in any reservation of rights letter to

         Plaintiff.




                                             DAMAGES

48.      Since the claim was made, UPC Insurance has not properly compensated Plaintiff for all

         necessary repairs made, which are covered under the Policy. This has caused undue

         hardship and burden to Plaintiff. These damages are a direct result of Defendant's

         mishandling of Plaintiff's claim in violation of the laws set forth above.

49.      Defendant made the above and other false representations to Plaintiff, either knowingly

         or recklessly, as a positive assertion, without knowledge of the truth. Defendant made

        these false misrepresentations with the intent that Plaintiff act in accordance with the

         misrepresentations. Plaintiff then relied on these misrepresentations, including but not

         limited to those regarding coverage and the cause and scope of damage. Plaintiff

         suffered damages as a result.

50.      Plaintiff would show that all of the aforementioned acts, taken together or singularly,

         constitute the producing causes of damages sustained. The acts, omissions, failures, and

         conduct of Defendant has caused Plaintiff's damages, which include, without limitation,

                                                  11
  Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 12 of 15




      costs for all necessary repairs required to be made to Plaintiff's Property, and any

      investigative and engineering fees incurred.

51.   For breach of contract, Plaintiff is entitled to regain the benefit of her bargain, which is

      the amount of her claim, consequential damages, together with attorney's fees.

52.   The damage on Plaintiff's Property is estimated at $19,562.14.




53.   For noncompliance with the DTPA and Texas Insurance Code, Unfair Settlement

      Practices, Plaintiff is entitled to actual damages, which include the loss of the benefits

      owed pursuant to the Policy, court costs, and attorney's fees. For knowing and

      intentional conduct of the acts described above, Plaintiff asks for three (3) times her

      actual damages. TEX. INS. CODE §541.152 and TEX. BUS. & COM. CODE

      17. 50(B)(1).

54.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims; Plaintiff is

      entitled to the amount of her claim, plus an eighteen percent (18%) per annum penalty on

      that claim, as damages, as well as pre-judgment interest and reasonable attorney's fees.

      'EX. INS. CODE §542.060.

55.   For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

      compensatory damages, including all forms of loss resulting from Defendant's breach of

      duty, such as additional costs, economic hardship, losses due to nonpayment of money

      UPC Insurance owed, and exemplary damages.

                                               12
  Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 13 of 15




56.   Defendant's breach of the common law duty of good faith and fair dealing was

      committed intentionally, with a conscious indifference to Plaintiff's rights and welfare,

      and with "malice," as that term is defined in Chapter 41 of the Texas Civil Practices and

      Remedies Code. These violations are the type of conduct which the State of Texas

      protects its citizens against by the imposition of exemplary damages. Therefore, Plaintiff

      seeks the recovery of exemplary damages in an amount determined by the fmder of fact

      sufficient to punish Defendant for its wrongful conduct and to set an example to deter

      Defendant and others from committing similar acts in the future.

57.   For fraud, Plaintiff is entitled to recover actual and exemplary damages for knowingly

      fraudulent and malicious representations, along with attorney's fees, interest, and court

      costs.

58.   For the prosecution and collection of this claim, Plaintiff has been compelled to engage

      the services of the attorneys subscribed to this pleading. Therefore, under Chapter 38 of

      the Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas

      Insurance Code, and section 17.50 of the DTPA, Plaintiff is entitled to recover a sum for

      the reasonable and necessary services of Plaintiff's attorneys in the preparation and trial

      of this action, including any appeals to the Court of Appeals and/or the Supreme Court of

      Texas.

59.   As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiff's counsel states

      that the damages sought are in an amount within the jurisdictional limits of this Court* As

      required by Rule 47(c)(1) of the Texas Rules of Civil Procedure, Plaintiff's counsel states

      that Plaintiff seeks only monetary relief of $100,000 or less, including damages of any kind,

      penalties, costs, expenses, pre-judgment interest, and attorney's fees. This statement from

                                               13
   Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 14 of 15




        Plaintiff's counsel is made only for the purpose of compliance with Tex. R. Civ. P. 47, and

       the amount in controversy does not exceed $75,000 at this time. Plaintiff also seeks pre-

       judgment and post-judgment interest at the highest legal rate.

                                REQUESTS FOR DISCLOSURE

60.    Under Texas Rules of Civil Procedure 190 and 194, Plaintiff requests that Defendant

       disclose, within fifty (50) days from the date this request is served, the information or

       material described in Rules 190.2(b)(6) and 194.2.




                                        JURY DEMAND

61.    Plaintiff hereby requests a jury trial for all causes of action alleged herein, tried before a

       jury consisting of citizens residing in Fort Bend County, Texas. Plaintiff hereby tenders

       the appropriate jury fee.

                                            PRAYER

       Plaintiff prays that Defendant, United Property & Casualty Insurance Company, be cited

and served to appear, and that upon trial hereof, Plaintiff, Lillian Roman, have and recover from

Defendant, United Property & Casualty Insurance Company, such sums as would reasonably and

justly compensate Plaintiff in accordance with the rules of law and procedure, as to actual,

consequential, and treble damages under the Texas Insurance Code and Texas Deceptive Trade

Practices Act, and all punitive, additional, and exemplary damages, as may be found. In

addition, Plaintiff requests the award of attorney's fees for the trial and any appeal of this case,

for all costs of Court expended on Plaintiff's behalf, for pre-judgment and post-judgment interest



                                                14
   Case 4:17-cv-02856 Document 1-4 Filed in TXSD on 09/22/17 Page 15 of 15




as allowed by law; and for any other and further relief, at law or in equity, to which Plaintiff,

Lillian Roman, may show herself justly entitled.

                                                     Respectfully submitted,

                                             CHAD T. WILSON LAW FIRM PLLC

                                                     By: Is/ Chad T. Wilson

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                                              15
